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               COMMONWEALTH OF MASSACHUSETTS

                   SUPREME JUDICIAL COURT

                         NO. SJC-13663



                         COMMONWEALTH,
                           Appellee

                               V.

                          KAREN READ,
                           Appellant


    ON A RESERVATION AND REPORT BY THE SINGLE JUSTICE
         OF A PETITION FOR EXTRAORDINARY RELIEF
               PURSUANT TO G.L. c. 211, § 3


                     COMMONWEALTH’S BRIEF




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October 16, 2024




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                     discretion in declaring a mistrial
                     where the jury repeatedly reported it
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                     that further deliberations would be
                     futile ........................................................................................ 24

          II.        The judge properly found the
                     defendant consented to the mistrial
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                     that result, had several days to
                     prepare for it, and when it was
                     declared, did not object despite
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                         ISSUES PRESENTED

I.    The jury reported three times, in increasingly

sharper terms, that it was deadlocked.           Its third and

final note said that the jurors remained “starkly

divided” over “the charges” and further deliberations

“would be futile.”       At no point did the jury express

the prospect of unanimity on any charge, and the

defendant argued at the time that the jurors were

“at an impasse” and “hopelessly deadlocked.”              Did the

trial judge abuse her discretion in declaring a

mistrial based on the deadlock reported by the jury?


II.   The defendant did not object to the declaration

of the mistrial.     The judge found that defense counsel

had multiple opportunities to raise any objection and

she explicitly found not credible the defendant’s

assertions that the mistrial was sudden and

unexpected, or that defense counsel was not afforded

an opportunity to be heard.          Did the judge err in

concluding the defendant consented to the mistrial?


III. The jury did not return, announce, and affirm any

verdicts in open court.        Was the defendant acquitted

of the charges of second-degree murder and leaving the

scene?

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                    STATEMENT OF THE CASE

      On June 9, 2022, a Norfolk County grand jury

indicted the defendant, Karen Read, for murder in the

second degree, G.L. c. 265, § 1; manslaughter while

operating a motor vehicle under the influence of

alcohol or having a blood alcohol concentration of

0.08 or greater (“OUI manslaughter”), G.L. c. 265,

§ 131/2; and leaving the scene of personal injury

resulting in death, G.L. c. 90, § 24(2)(a1/2)(2)

(R.102, 139-144).1

      A jury trial on the three indictments began on

April 16, 2024 (Beverly J. Cannone, J., presiding)

(R.100).    On June 25, 2024, the thirty-seventh day of

trial, the jury began deliberating (R.145, 197).

In addition to the three charged offenses, the trial

judge instructed the jury on two lesser-included

offenses of OUI manslaughter: (1) involuntary

manslaughter by wanton or reckless conduct, G.L.

c. 265, § 13; and (2) motor vehicle homicide by

negligent operation while under the influence of




      1 The record appendix is cited as “R.”; the
Commonwealth’s supplemental record appendix as “S.R.”;
the defendant’s brief as “D.Br.”; and the addendum to
this brief as “Add.” All citations are followed by
page number(s).
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alcohol, G.L. c. 90, § 24G(a) (R.168-187).               On July 1,

2024, the fifth day of deliberations, the trial judge

declared a mistrial based on jury deadlock (R.268).

      On July 8, 2024, the defendant moved to dismiss

the charges of second-degree murder and leaving the

scene on double jeopardy grounds (R.137, 272).

The motion was accompanied by two affidavits from her

attorneys (R.137, 283-288).         The Commonwealth filed a

written opposition to the motion (R.137, 295), and the

defendant filed a reply (R.137, 310).          The defendant

also filed three supplemental memoranda, each

accompanied by an affidavit of counsel (R.137-138,

289, 320, 327).

      On August 9, 2024, the trial judge heard argument

on the motion (R.138, 332).         In a memorandum of

decision and order entered on August 23, 2024, the

judge denied the motion (R.138, 388; Add.55).

      On September 11, 2024, the defendant filed in the

county court a petition for extraordinary relief

pursuant to G.L. c. 211, § 3, seeking review of the

order denying her motion to dismiss (R.5, 418).

A single justice (Elizabeth N. Dewar, J.) reserved and

reported the case without decision for determination

by this Court (R.423).

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                   STATEMENT OF THE FACTS

      a.    Jury Deadlock and Mistrial

      The jury began its deliberations on Tuesday,

June 25, 2024, at about 1:25 p.m. (R.197).

Deliberations continued over the next three days

(R.210-211, 228-229, 242-245, 247-250).           On Friday,

June 28, around noon, the jury foreperson sent the

trial judge a note stating:

      Dear Judge Cannone,

      I am writing to inform you, on behalf of the
      jury, that despite our exhaustive review of the
      evidence and our diligent consideration of all
      disputed evidence, we have been unable to reach a
      unanimous verdict.

(S.R.3; R.250).

      The judge asked the parties for their views on

whether at that point the jury had engaged in “due and

thorough” deliberation (R.251).2        The Commonwealth



      2 G.L. c. 234A, § 68C, formerly codified at G.L.
c. 234, § 34, see St. 2016, c. 36, §§ 1, 5 (effective
May 10, 2016), provides:

      If a jury, after due and thorough deliberation,
      returns to court without having agreed on a
      verdict, the court may state anew the evidence or
      any part of the evidence, explain to them anew
      the law applicable to the case and send them out
      for further deliberation; but if they return a
      second time without having agreed on a verdict,
      they shall not be sent out again without their
      own consent, unless they ask from the court some
      further explanation of the law.
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 asserted that the jury had not had sufficient time to

 deliberate and it was therefore too soon to give a

 Tuey-Rodriguez instruction (R.251).3         The Commonwealth

 noted that, although the jury said it had not reached

 a unanimous verdict, it did not convey that doing so

 would not be possible (R.251).         The defendant

 disagreed with the Commonwealth’s “characterization of

 the note” and argued that the jury was “communicating

 to the Court that they’ve exhausted all manner of

 compromise, all manner of persuasion and they are at

 an impasse” (R.252).      Defense counsel asked the judge

 to give the Tuey-Rodriguez instruction (R.252).

       The judge ruled there had not yet been due and

 thorough deliberation, given the length of the trial,

 the amount of evidence presented through 74 witnesses

 and 657 exhibits, the complexity of the issues, and

 that each of the prior days of deliberations had been

 shortened (R.253).      She instructed the jurors to

 continue deliberating (R.254).         They deliberated until

 about 4:15 p.m., when the judge released them for the

 weekend (R.255-256).


       3 See Commonwealth v. Rodriguez, 364 Mass. 87,
 98-103 (1973) (approving modified version of charge
 set out in Commonwealth v. Tuey, 8 Cush. 1, 2-3
 [1851], for prospective use with deadlocked juries).
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         Deliberations resumed on Monday, July 1 (R.260-

 261).     Around 10:45 a.m., the jury sent the judge the

 following note:

         Judge Cannone

         Despite our commitment to the duty entrusted to
         us, we find ourselves deeply divided by
         fundamental differences in our opinions and state
         of mind.

         The divergence in our views are not rooted in a
         lack of understanding or effort, but deeply held
         convictions that each of us carry ultimately
         leading to a point where consensus is
         unattainable. We recognize the weight of this
         admission and the implications it holds.

 (S.R.4; R.261, 264, 390).      The judge again requested

 argument on whether there had been due and thorough

 deliberation (R.261-262).      The Commonwealth

 acknowledged the length of the deliberations up to

 that point -- around 22 or 23 hours in total by its

 estimation -- but it argued that the jury still had

 not conducted a thorough deliberation considering the

 trial length, voluminous evidence, and complex issues

 (R.261-262).     The defendant argued it was “time for a

 Tuey-Rodriguez” as the jury had “come back now twice,

 indicating essentially that they are hopelessly

 deadlocked” (R.262).      Defense counsel again asked the

 judge to give the instruction (R.263).




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       The judge found that the jury had engaged in due

 and thorough deliberation, noting the jury had been

 “extraordinary” and that she had “never seen a note

 like this reporting to be at an impasse” (R.263).

 She gave the jury the full Tuey-Rodriguez charge and

 deliberations resumed (R.264-267).

       At about 2:30 p.m. that same day, the jury sent

 another note to the judge (R.267-268, 391; S.R.5).

 The parties returned to the courtroom, the case was

 called, and the judge informed counsel, “The jury is

 at an impasse” (R.267).

       After the jurors entered the courtroom, the judge

 read the note aloud:

       Judge Cannone,

       Despite our rigorous efforts, we continue to find
       ourselves at an impasse.

       Our perspectives on the evidence are starkly
       divided. Some members of the jury firmly believe
       that the evidence surpasses the burden of proof
       establishing the elements of the charges beyond a
       reasonable doubt. Convers[e]ly, others find the
       evidence fails to meet this standard, and does
       not sufficiently establish the necessary elements
       of the charges[.]

       The deep division is not due to a lack of effort
       or diligence, but rather a sincere adherence to
       our individual principles and moral convictions.

       To continue to deliberate would be futile and
       only serve to force us to compromise these deeply
       held beliefs.


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 (S.R.5; R.267-268).      The judge told the jurors, “I am

 not going to do that to you, folks.         Your service is

 complete” (R.268).      She declared a mistrial and

 excused them to the jury room, where she said she

 would see them “in a few minutes” (R.268).              The judge

 and counsel remained in the courtroom and scheduled a

 date to return for a status conference (R.269-270).

       b.   Purported Post-Trial Juror Statements

       One week later, on July 8, the defendant filed

 her motion to dismiss along with affidavits from her

 counsel, Attorneys Alan Jackson and David Yannetti

 (R.137, 283, 286).      Attorney Jackson’s affidavit

 stated that on July 2 a purported juror (“Juror A”)

 contacted him (R.286).      He said he was able to

 identify which juror they were from his conversation

 with them (R.286).      According to Attorney Jackson’s

 description of the conversation, Juror A said the jury

 had unanimously agreed that the defendant was not

 guilty of second-degree murder (count 1), and “shortly

 following that determination,” they also had

 unanimously agreed that she was not guilty of leaving

 the scene (count 3) (R.287).

       Attorney Yannetti’s affidavit stated he had

 received communications from two “informants,” both on

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 July 3 (R.283).     He said one of these informants

 (“Informant B”) sent him a screenshot that Informant B

 had received from some other person (“Intermediary B”)

 of text messages that Intermediary B allegedly had

 received from a purported juror (“Juror B”) (R.283).

 Attorney Yannetti believed he could confirm Juror B

 had been a deliberating juror based on a first name

 for Juror B given to him by Informant B (R.283).

 According to Attorney Yannetti’s description of the

 screenshot, Juror B allegedly texted Intermediary B:

 “It was not guilty on second degree.         And split in

 half for the second charge.         When the judge sent us

 back with that Hernandez [sic] thing to look at the

 other side it turned into a bully match.           I thought

 the prosecution didn’t prove the case.          No one thought

 she hit him on purpose or even thought she hit him on

 purpose [sic]” (R.189).

       Attorney Yannetti stated that the other informant

 (“Informant C”) had contacted him to say that they

 personally knew a purported juror (“Juror C”), as they

 and Juror C used to work together and had a mutual

 friend (“Intermediary C”) who was a current co-worker

 and friend of Juror C (R.284).         Informant C also knew

 from Intermediary C that Juror C would be

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 participating in a Zoom meeting with friends to

 discuss the trial (R.284).       Three days later,

 Informant C sent Attorney Yannetti screenshots of text

 messages exchanged between Informant C and

 Intermediary C, in which Intermediary C purportedly

 reported what Juror C had allegedly said during the

 Zoom meeting (R.284).

       According to Attorney Yannetti’s representation

 of that exchange, Intermediary C texted, “no

 consideration for murder 2.         manslaughter started

 polling at 6/6 then ended deadlocked @ 4no8yes”;

 Informant C texted back, “if it was no consideration

 for murder two, shouldn’t she have been acquitted on

 that count. and hung on the remaining chargers [sic],”

 and Intermediary C responded, “she should’ve been

 acquitted I agree.      Yes, the remaining charges were

 what they were hung on” (R.284-285).         Based on the

 descriptions of Juror C by Informant C and

 Intermediary C, Attorney Yannetti said he could

 positively identify Juror C as a deliberating juror

 (R.285).

       On July 10, Attorney Jackson submitted a

 supplemental affidavit stating that on July 8 he was

 contacted by a purported juror (“Juror D”) (R.137,

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 292).     He said he was able to identify which juror

 they were from his conversation with them (R.292).

 According to Attorney Jackson’s description of the

 conversation, Juror D said the jury had unanimously

 agreed the defendant was not guilty of counts 1 and 3,

 and the jury’s disagreement was solely as to count 2

 and its lesser-included offenses (R.293).

         Attorney Jackson submitted a second supplemental

 affidavit on July 18 (R.137, 323).         He stated that he

 had been contacted the day before, July 17, by a

 purported juror (“Juror E”) (R.323).         He again said he

 could identify the individual as a deliberating juror

 (R.323).     According to Attorney Jackson, Juror E said

 the jury was “unanimous on 1 and 3,” the defendant was

 not guilty, and the jurors deadlocked only on the

 “lower charges” on count 2 (R.323).

         On August 1, 2024, the Commonwealth filed in the

 trial court a notice disclosing that on July 21 an

 unsolicited voicemail was left on the office phoneline

 of one of the trial prosecutors (R.325).           The caller,

 who identified themself as a juror by full name and

 seat number, stated, “it is true what has come out

 recently about the jury being unanimous on charges 1

 and 3” (R.325).     That same individual left another

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 unsolicited voicemail for the prosecutor on July 26,

 stating that they “can confirm unanimous on charges

 one and three, as not guilty[,] and as of last vote

 9-3 guilty on the manslaughter charges . . . on the

 lower-level manslaughter charges” (R.325).

       The Commonwealth’s notice further disclosed that

 it also had received emails from three individuals who

 identified themselves as jurors and wished to speak

 anonymously (R.325).      The Commonwealth had responded

 to the emails by stating that, although it would

 welcome the opportunity to discuss the evidence or its

 case, it was ethically prohibited from inquiring into

 the substance of the jury’s deliberations and could

 not promise confidentiality, as it might be required

 to disclose any such communications to the defendant

 or the court (R.325-326).      All three individuals

 declined to communicate further with the Commonwealth

 and provided no information about the jury’s purported

 votes (R.326).

       On August 5, Attorney Yannetti submitted a

 supplemental affidavit stating that he had received an

 unsolicited phone call on July 31 (R.138, 330).             The

 caller said they had been a juror in the case, and

 based on what they represented to Attorney Yannetti to

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 be their full name, Attorney Yannetti stated he was

 able to confirm that the caller was the person

 identified as Juror B in his prior affidavit (R.330).

 According to him, the caller said the jury had reached

 unanimous not-guilty verdicts on “indictments (1) and

 (3)” and had been deadlocked only on “indictment (2)”

 (R.330).

         The caller also said they were familiar with

 Attorney Yannetti’s prior affidavit and the text

 message exchange referenced in paragraph 4 of the

 affidavit (quoted above) was accurate, except that

 they had meant to write, “No one thought she hit him

 on purpose or even knew that she had hit him” (R.330-

 331).        The caller “believe[d] that other jurors ha[d]

 been reluctant to come forward because there is so

 much public and media attention focused on this case”

 (R.331).

         c.     Juror Privacy and Safety Concerns

         On July 8, the same day the defendant filed her

 motion to dismiss, the trial judge sua sponte issued

 an order impounding the list of names of the empaneled

 jurors (R.137; S.R.6).        The judge noted that the case

 had “garnered significant and divisive attention in

 Massachusetts and across the nation,” and that the

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 proceedings continued to be “the daily subject of

 commentary on various social media platforms” (S.R.6).

 She noted too that “[p]eople associated with the case

 have been charged with intimidation” (S.R.6).

       She found that there was a real and present risk

 of personal harm to the jurors and to the integrity of

 their service if their names were to be made available

 to the public at that time, and thus a risk of

 immediate and irreparable injury establishing good

 cause to impound the list (S.R.6-7).         The order stated

 that it would expire ten days from its issuance unless

 otherwise ordered by the court for good cause shown

 (S.R.7).

       On July 18, one of the deliberating jurors,

 represented by counsel and proceeding under the

 pseudonym “Juror Doe,” filed an emergency motion for

 an indefinite extension of the impoundment order

 (R.137; S.R.8).     The motion was supported by an

 affidavit from Juror Doe (R.137; S.R.11).

       Juror Doe averred that they feared for their

 personal safety and the safety of their family if the

 jurors’ names were made public (S.R.12).           In addition

 to the conduct noted in the impoundment order, Juror

 Doe recalled trial testimony from at least one witness

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 who had described herself and her family being

 harassed because of her involvement in this case

 (S.R.12).

       Juror Doe also stated that during deliberations

 the jurors “could hear protesters outside screaming

 and yelling,” and after the jurors were discharged and

 transported by bus back to what was supposed to be a

 secret location, they were met there by what appeared

 to be members of the media, including photographers

 (S.R.12).    Juror Doe cited recent examples of news

 articles and social-media commentary in which

 individuals had expressed anger at the jurors, sought

 to identify the jurors, and advocated publicizing the

 jurors’ home addresses, occupations, and other

 identifying information to harass and shame them

 (S.R.13-15).

       In closing, Juror Doe said:

       My affidavit and motion should not be interpreted
       as indicating how I or any other juror voted on
       this case, or how I or any other juror feel about
       this case. Every member of the jury, regardless
       of how they voted, is likely to face backlash
       from a segment of the large portion of the public
       who intensely followed this case. I wish to
       remain anonymous, and I bring this motion on
       behalf of myself and any other juror who does not
       wish to be identified, regardless of whether or
       not we agreed during our deliberations.



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       It was an honor to serve on the jury. It also
       was a significant sacrifice of time, which I
       understood and anticipated when I was selected.
       What I did not anticipate, however, was the
       likelihood that I and other members of the jury
       would become targets of intense public scrutiny
       and likely harassment campaigns strictly due to
       the outcome of our private deliberations.

       If jury names are made public, I will be subject
       to nonstop requests for comment about jury
       deliberations. I would prefer to not have to
       respond to these inquiries. However, what I fear
       is not only will I be subject to requests for
       interviews, but that I will be targeted and
       harassed because of what I did, or did not do on
       that jury. I fear that verbal harassment will
       likely lead to physical confrontation and
       physical harm. I am not prepared or equipped to
       anticipate and prepare for any surprise personal
       attack. More importantly, I fear that I will not
       be able to protect myself and my family.

 (S.R.16).

       The trial judge credited Juror Doe’s affidavit

 and found that Juror Doe had established good cause to

 extend the impoundment order unless and until

 otherwise ordered by the court (R.137; S.R.38-39).




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                     SUMMARY OF ARGUMENT 4

       The trial judge soundly exercised her discretion

 in declaring a mistrial on the ground of manifest

 necessity.    The jury repeatedly reported it was

 deadlocked and further stated that continuing to

 deliberate would be futile and only force the jurors

 to compromise their deeply held beliefs.           The jury

 gave no indication it had reached a unanimous verdict

 on any charge, and the defendant argued at the time

 against finding any such unanimity.         There was no

 viable alternative to a mistrial, but even so, the

 defendant was afforded a meaningful opportunity to be

 heard on any purported alternative.         (Pages 24-37).

       Even assuming there was no manifest necessity,

 the trial judge properly ruled that the defendant

 consented to the mistrial.       The possibility of a

 mistrial because of deadlock was clear from the jury’s

 first note, and clearer still from its second note.


       4 The Commonwealth addresses first the
 defendant’s arguments concerning the mistrial before
 turning to the supposed acquittals. That was the
 order in which the issues arose before the trial
 judge. Moreover, the defendant attempts to use the
 purported juror statements in hindsight to challenge
 the necessity of a mistrial, even though those alleged
 statements were unknown to the judge and the parties
 at the time of the mistrial and could not have
 factored into the judge’s exercise of her discretion.
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 Defense counsel consistently pushed for that result in

 response to those notes, had ample time to prepare for

 a mistrial before it was later declared, and raised no

 objection despite multiple opportunities to do so.

 The defendant’s personal assent to the mistrial was

 not required.    (Pages 37-39).

       The defendant was not acquitted of any charge

 because the jury did not return, announce, and affirm

 any open and public verdicts of acquittal.              That

 requirement is not a mere formalism, ministerial act,

 or empty technicality.      It is a fundamental safeguard

 that ensures no juror’s position is mistaken,

 misrepresented, or coerced by other jurors.              It also

 protects each juror’s right to rethink their position

 and to change their vote before reaching a final

 verdict.   The alleged post-trial statements from

 certain purported jurors do not constitute acquittals,

 and the judge properly denied the defendant’s request

 for a post-trial inquiry of the jurors.          That inquiry

 would necessarily require delving into the jurors’

 deliberations, which this Court has consistently and

 firmly held impermissible.       (Pages 40-52).




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                            ARGUMENT

       I.    The judge soundly exercised her discretion
             in declaring a mistrial where the jury
             repeatedly reported it was deadlocked, gave
             no indication of unanimity on any charge,
             and stated that further deliberations would
             be futile.

       Double jeopardy principles do not bar retrying a

 defendant when a mistrial is declared as a matter of

 manifest necessity.      See Ray v. Commonwealth, 463

 Mass. 1, 3 (2012); Cruz v. Commonwealth, 461 Mass.

 664, 671 (2012) (“‘manifest necessity’ is another way

 of saying that in a particular case, the right of the

 defendant must yield to that of the public”).            A

 deadlocked jury is the “prototypical example” of a

 manifest necessity justifying declaration of a

 mistrial.    Fuentes v. Commonwealth, 448 Mass. 1017,

 1018 (2007) (quotation omitted).        See Ray, 463 Mass.

 at 3, quoting Blueford v. Arkansas, 566 U.S. 599, 609

 (2012) (trial judge’s belief that jury is unable to

 reach verdict “has long been considered the ‘classic

 basis’ for a proper mistrial.”).        On review, “the

 question for decision is whether the petitioner has

 shown an abuse of discretion by the trial judge in

 declaring a mistrial.”      Ray, 463 Mass. at 4 (quotation

 omitted).    Accord Fuentes, 448 Mass. at 1018.          This


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 Court accords “great deference to the trial judge’s

 determination when a mistrial is premised upon the

 trial judge’s belief that the jury is unable to reach

 a verdict.”     Fuentes, 448 Mass. at 1018 (quotations

 omitted).     Accord Ray, 463 Mass. at 5; Arizona v.

 Washington, 434 U.S. 497, 509-510 (1978).

       The propriety of a deadlock-based mistrial “is

 not answered by application of a mechanical formula.”

 Ray, 463 Mass. at 4 (quotation omitted).           It is a

 circumstantial inquiry, and the “pertinent factors”

 correspond to those informing whether the jury has

 conducted due and thorough deliberation under G.L.

 c. 234A, § 68C.     Id. at 4-5.     These factors include

 the time spent deliberating relative to the length of

 the trial, the complexity of the disputed factual

 issues, and “statements by the jury that they cannot

 agree.”     Id. (quotation omitted).     See Fuentes, 448

 Mass. at 1018-1019 (analyzing factors).

       Here, after deliberating across four days, the

 jury told the judge it had exhaustively reviewed the

 evidence and diligently considered all disputed

 evidence but had been “unable to reach a unanimous

 verdict” (S.R.3; R.250).      Considering the jury’s note,

 the extent of deliberations thus far in view of the

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 trial length, the amount of evidence presented, and

 the complexity of the issues to be decided, the judge

 found the jury’s deliberations had not yet been due

 and thorough, and she instructed the jury to continue

 deliberating (R.253-254).

       On the next day of deliberations the jury sent

 the judge a second note, stating in stronger terms,

 “we find ourselves deeply divided by fundamental

 differences in our opinions and state of mind,” the

 “divergence in our views are not rooted in a lack of

 understanding or effort, but deeply held convictions,”

 and “consensus is unattainable” (S.R.4; R.261, 264).

 Considering again the jury’s statements and the

 additional time spent deliberating, the judge found

 the jury had conducted due and thorough deliberation

 and provided the Tuey-Rodriguez charge (R.264-267).5

       Later that afternoon the jurors returned a third

 and even more emphatic note that said, “we continue to

 find ourselves at an impasse,” “[o]ur perspectives on

 the evidence are starkly divided” stemming from


       5 Giving a Tuey-Rodriguez instruction is “the
 orthodox approach to dealing with a deadlocked jury”
 and “ordinarily the preferable course.” Ray, 463
 Mass. at 5-6 (quotation omitted). It encourages a
 jury “to consider seriously and with an open mind the
 views and arguments of each member.” Id. at 3 n.3.
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 “a sincere adherence to our individual principles and

 moral convictions,” and further deliberations “would

 be futile and only serve to force us to compromise

 these deeply held beliefs” (S.R.5; R.267-268).

       The judge “had no doubt based on the jury’s notes

 to the Court that it was unable to reach a unanimous

 verdict” (Add.69-70; R.402-403).        It was also “clear”

 to her from the third note that the jurors “would not

 consent to continuing their deliberations” (Add.67;

 R.400).     See R.268 (telling the jurors, “I am not

 going to do that to you, folks”).        And at that point

 the jurors could not be compelled to continue

 deliberating without their consent.         See G.L. c. 234A,

 § 68; Fuentes, 448 Mass. at 1019, citing former G.L.

 c. 234, § 34.

       In short, the judge’s declaration of a mistrial

 due to deadlock was informed by her consideration and

 weighing of the specific factors pertinent to that

 decision.     She did not abuse her discretion.         See Ray,

 463 Mass. at 4-6; Fuentes, 448 Mass. at 1019.

       The defendant nonetheless claims the judge erred

 by failing to consider alternatives to a mistrial and

 to give defense counsel an opportunity to be heard.

 See D.Br.35, quoting Commonwealth v. Taylor, 486 Mass.

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 469, 484 (2020).        As to purported alternatives, she

 contends the judge should have inquired whether the

 jury had reached a unanimous verdict on any charge or

 asked the jurors if they would consent to further

 deliberations.     See D.Br.37, 43.       The judge was not

 obligated to make “either inquiry as a matter of

 course.”   Fuentes, 448 Mass. at 1018 (judge under no

 duty to inquire about possibility of unanimous

 verdicts or willingness to continue deliberating).

 See Blueford, 566 U.S. at 609 (rejecting argument that

 judge needed to give effect to any potential unanimity

 on charges before declaring mistrial because of hung

 jury); Daniels v. Commonwealth, 441 Mass. 1017, 1017

 n.3 (2004) (judge not required to receive partial

 verdicts under Mass. R. Crim. P. 27[b]); Commonwealth

 v. Floyd P., 415 Mass. 826, 830 (1993) (judge has

 discretion as to partial verdicts).

       “[T]he circumstances before the judge [also] did

 not necessitate either inquiry.”          Fuentes, 448 Mass.

 at 1018.   There was no reason for the judge to ask if

 the jurors would consent to further deliberations.

 The jurors’ final note made abundantly clear that they

 did not consent, and that if they continued to

 deliberate, any verdicts reached would not have been

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 each juror’s “own verdict, the result of [their] own

 convictions,” but rather, “a mere acquiescence in the

 conclusions” of the other jurors.        Rodriguez, 364

 Mass. at 101.     See Arizona, 434 U.S. at 510 n.28

 (trial judge best positioned to assess whether jury

 able to reach just verdict if deliberations continue).

       There was also no basis for the judge to inquire

 whether the jury had reached a unanimous verdict on

 any charge.     Nothing in the jury’s three notes

 “indicated agreement on any of the charges,” or even

 an “inkling of an indication of agreement” (Add.70;

 R.403).   To the contrary, the first note said the jury

 had been “unable to reach a unanimous verdict,”

 declaring outright that the jury had not reached a

 unanimous decision on any charge (S.R.3; R.250).

 The second note stated, “consensus is unattainable,”

 which would be a peculiar way of describing the jury’s

 deadlock if consensus had in fact been attained on any

 charge (S.R.4; 264).      The third and final note,

 returned after the Tuey-Rodriguez instruction, stated

 the jury remained “at an impasse” on “the charges,”

 not just a particular charge (S.R.5; R.268).            As the

 judge found, the “only reasonable interpretation of

 these notes, and specifically the final note, was that

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 the jury could not agree on any of the three charges

 and further deliberations would serve no purpose”

 (Add.70; R.403).        See Fuentes, 448 Mass. at 1018-1019

 (when final jury note unequivocally stated jury was

 deadlocked, judge properly declared mistrial without

 inquiring into possibility of unanimous verdicts or

 whether jury would consent to further deliberations);

 Commonwealth v. Roth, 437 Mass. 777, 793-794 (2002)

 (improper to assume “there is any ‘final’ verdict

 lurking within that deadlock that may be extracted”).

       Moreover, the judge was mindful of this Court’s

 repeated admonitions that “deadlocked juries are

 particularly susceptible to coercion” (Add.72; R.405).

 Roth, 437 Mass. at 791, citing Commonwealth v. Connor,

 392 Mass. 838, 844 (1984).         The jurors in this case

 had reported three times that they were unable to

 reach agreement and had been given Tuey-Rodriguez.

 See Roth, 437 Mass. at 792 (in these circumstances,

 “a judge’s inquiry concerning partial verdicts cannot

 avoid communicating to the jury the judge’s desire to

 salvage something from the trial” [emphasis in

 original]).    The jurors also had been instructed on

 lesser-included offenses (R.168-187).            See Roth, 437

 Mass. at 790-795 (judge precluded from initiating any

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 inquiry into partial verdicts premised on lesser-

 included offenses due to heightened risk of coercion);

 A Juvenile v. Commonwealth, 392 Mass. 52, 55-56 (1984)

 (same).   The judge recognized that even asking the

 jurors if they were truly deadlocked, let alone

 probing on which charges they were deadlocked, would

 have been coercive.      See Add.72 (R.405) (such

 questioning “would have implied to the jurors that the

 Court wanted them to resume deliberations to reach a

 verdict”); Ray, 463 Mass. at 6 (judge “interacts

 directly with the jurors while presiding at trial,”

 and thus “is ordinarily in the best position” to

 assess potential for coercion); Roth, 437 Mass. at 794

 (“In many instances, asking a deadlocked jury about

 partial verdicts would constitute attempting to

 extract from the jury something that does not

 exist.”).6




       6 The defendant relies on Commonwealth v. Foster,
 411 Mass. 762 (1992), and Commonwealth v. LaFontaine,
 32 Mass. App. Ct. 529 (1992), to argue that there is
 nothing coercive about asking a deadlocked jury
 whether it has reached a unanimous verdict on any
 charge. See D.Br.47-48. Those cases are inapposite
 because neither of those juries reported being
 deadlocked. See Foster, 411 Mass. at 763-765;
 LaFontaine, 32 Mass. App. Ct. at 534-535.
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       The judge further recognized that “to make such

 an inquiry on her own accord could impede upon the

 strategic decision of counsel to not make such a

 request” (Add.73; R.406).      Given that defense counsel

 had previously accused her of “directing a verdict” on

 the lesser-included offenses because of how the OUI

 manslaughter verdict slip was initially worded

 (R.215), she was all the more attentive to avoid

 pressuring the jury (Add.72; R.405).         Far from failing

 to consider an inquiry into the nature or extent of

 the jury’s deadlock as an alternative to a mistrial,

 the judge was acutely aware of the concerns that would

 have made such an inquiry improper under the

 circumstances.    See Commonwealth v. Cassidy, 410 Mass.

 174, 179 (1991) (judge need only consider “reasonable

 available alternatives” to mistrial).

       Nor was defense counsel denied a meaningful

 opportunity to be heard.      In response to the jury’s

 first note, counsel disagreed with the prosecutor’s

 “characterization” that the note left open the

 possibility the jury might yet achieve unanimity

 (R.252).   Counsel argued the note could only mean the

 jury had already “exhausted all manner of compromise,

 all manner of persuasion,” was “at an impasse,” and

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 should be given Tuey-Rodriguez (R.252).          He did not

 ask the judge to inquire of the jurors what they meant

 when they said, “we have been unable to reach a

 unanimous verdict,” or whether they had reached

 verdicts on some but not all charges.

       With the jury’s second note, counsel argued the

 jury “have come back now twice, indicating essentially

 that they are hopelessly deadlocked” (R.262).

 Leveraging the language in the note, he emphasized

 that the jurors had “fundamental disagreements about

 what the evidence means and it’s a matter of opinion.

 It’s not a matter of lack of understanding” (R.263).

 He again argued in favor of a finding of due and

 thorough deliberation and again requested Tuey-

 Rodriguez (R.262-263).      He exhibited no curiosity at

 all about the extent of the jury’s deadlock and did

 not ask the judge to inquire of the jurors.

       The defendant now claims that her attorneys, by

 repeatedly requesting the Tuey-Rodriguez instruction,

 were merely trying to encourage the jury to reach

 unanimous verdicts.      See D.Br.41.    In reality, and as

 the judge found, counsel were “pushing” for “the

 result” of a mistrial, knowing that the judge would

 not declare one until the instruction had been given,

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 and that if after the instruction the jury returned

 deadlocked again, G.L. c. 234A, § 68C would be

 triggered and a mistrial would be all but inevitable.

 (Add.67-68; R.400-401).

       When the jury sent its third and final note, the

 judge informed counsel in open court, while waiting

 for the jurors to enter the courtroom, “The jury is at

 an impasse” (R.267).      Counsel could not credibly have

 believed that the result of that note would be

 anything other than the mistrial for which they had

 consistently pushed.      And it can fairly be inferred

 from counsels’ silence as the judge read the note

 aloud and declared a mistrial that counsel neither

 objected to the mistrial nor would have suggested any

 alternative.    See Add.69; R.402 (“The Court finds it

 hard to believe that when counsel heard that the jury

 was at an impasse for a third time and a mistrial was

 inevitable, at perhaps the most crucial point in the

 trial, counsel would sit silently if they did not

 consent to a mistrial.”); Fuentes, 448 Mass. at 1018-

 1019 (no abuse of discretion in declaring mistrial

 without first informing defense counsel of contents of

 jury’s final note or consulting with counsel when, as

 here, note indicated jury was deadlocked and offered

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 no reasonable probability jury would consent to

 further deliberations; G.L. c. 234, § 34 (now c. 234A,

 § 68C) was triggered; and thus “record d[id] not show

 that such consultation would have produced any

 fruitful alternatives”).

       Even so, counsel still had multiple opportunities

 to object if they in fact objected (Add.68; R.401).

 Counsel could have objected, or at least asked to be

 heard on the matter, at any point while waiting for

 the jurors to enter the courtroom after the judge

 announced the jury remained at an impasse (R.267);

 during the subsequent discussion with the judge about

 scheduling a status hearing (R.269-270); or while the

 jurors were still at the courthouse and waiting in the

 deliberation room for the judge to speak to them

 (R.268).   See Add.68 (R.401).         See also, e.g.,

 Fuentes, 448 Mass. at 1018 (counsel objected to

 mistrial after jury was dismissed, judge then heard

 from both parties and recessed case).

       Had defense counsel raised an objection they

 would have been heard (Add.68; R.401).           The judge made

 a point to note that counsel were “no shrinking

 violets”; they had never needed the judge to inquire

 whether they had an objection in order to be heard,

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 and she had never refused them an opportunity to be

 heard in open court or at sidebar (Add.68; R.401).7

       Despite several opportunities to do so, counsel

 raised no objection to the mistrial.         Instead, counsel

 said nothing about the mistrial to the judge, and

 after engaging in a scheduling conference in open

 court before the judge, proceeded together with the

 defendant to the courthouse steps, where counsel made

 statements to the media and onlookers (Add.68; R.401).

 Counsels’ statements also expressed no objection to or

 dissatisfaction with the mistrial.         Rather, counsel

 declared the Commonwealth “failed miserably and will

 continue to fail” (Add.68; R.401).8

       For these reasons, the judge found not credible

 the assertions in the defendant’s motion that the

 declaration of the mistrial was “sudden” and




       7 Counsel’s objection to the initial version of
 the OUI manslaughter verdict slip serves as an
 illustrative example. See Add.68 (R.401); R.213-215
 (counsel accusing judge of directing verdict on
 lesser-included offenses and telling her: “I don’t
 really care how it always i[s] i[n] Massachusetts”;
 “I’d like an answer from the Court”; and “that’s not
 how it should be, and it’s over our strong
 objection”).
       8 A video of counsel’s statements is available at
 the following link, cited by the judge in her Order:
 https://www.youtube.com/watch?v=TrsJPBRVqDg.
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 “unexpected,” or defense counsel’s assertion in his

 affidavit that he lacked an opportunity to be heard.

 See Add.68-69 (R.401-402); R.287; D.Br.36.              The

 defendant cannot overcome those credibility

 determinations, fully supported by the record, which

 show the “remarkable turnaround” in her position post-

 trial for what it is:      a hindsight contrivance based

 on the purported juror statements (Add.68; R.401).

 See Commonwealth v. Rzepphiewski, 431 Mass. 48, 55

 (2000) (motion judge not required to accept self-

 serving assertions in supporting affidavit, even if,

 unlike here, nothing in record directly contradicts

 them).

       II.   The judge properly found the defendant
             consented to the mistrial where counsel
             consistently pushed for that result, had
             several days to prepare for it, and when it
             was declared, did not object despite
             multiple opportunities to do so.

       “A defendant’s consent to a mistrial removes any

 double jeopardy bar to retrial.”        Pellegrine v.

 Commonwealth, 446 Mass. 1004, 1005 (2006) (quotation

 omitted).    See Commonwealth v. Curtis, 53 Mass. App.

 Ct. 636, 640 (2002) (“manifest necessity” test

 inapplicable to mistrial declared with defendant’s

 consent).    Such consent “may be inferred from silence


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 where a defendant had the opportunity to object and

 failed to do so.”        Pellegrine, 446 Mass. at 1005,

 quoting Commonwealth v. Phetsaya, 40 Mass. App. Ct.

 293, 298 (1996).        A defendant’s silence in the face of

 a mistrial declaration has also been held to

 demonstrate consent when “the total situation was such

 that the defendant could reasonably have anticipated

 that the issue of a mistrial would arise and could

 prepare himself for the event; silence could then be

 plausibly read as acquiescence.”          Commonwealth v.

 Horrigan, 41 Mass. App. Ct. 337, 342 (1996).

       As discussed above, defense counsel consistently

 sought a mistrial, and when it later transpired,

 raised no objection.        Counsel also had ample time to

 prepare for that outcome.        The jury returned its first

 note around noon on Friday, June 28 (R.250); its

 second note on the following Monday, July 1, around

 10:45 a.m. (R.261, 264, 390); and its third and final

 note around 2:30 p.m. that same day (R.267-268, 391).

 Counsel had three days between the first and second

 notes and several more hours between the second and

 third notes to prepare for a possible mistrial and to

 discuss the matter with the defendant.



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         The defendant cites Horrigan for support

 (D.Br.36, 44), but the “total situation” here was

 markedly different than in that case.           In Horrigan,

 on the morning of the second day of trial, the first

 justice of the district court abruptly, and with no

 prior warning to the parties or counsel, walked into

 the courtroom and announced a mistrial because the

 trial judge had a medical emergency and could not

 preside.     See Horrigan, 41 Mass. App. Ct. at 338-339.

 There, the mistrial was truly sudden and unexpected.

 Here, it was entirely foreseeable and played out over

 days.

         The defendant also argues that her personal

 assent to the mistrial was required.          See D.Br.49-50.

 She did not raise this argument before the trial

 judge, and it is waived.      See R.272-281, 216-318;

 Commonwealth v. Bettencourt, 447 Mass. 631, 633-634

 (2006) (this Court need not consider arguments raised

 for first time on appeal, and rarely does so if

 argument is dispositive in favor of party raising it).

 In any event, the judge was not required to secure the

 defendant’s personal consent.          See Daniels, 441 Mass.

 at 1017 n.3; Poretta v. Commonwealth, 409 Mass. 763,

 766-769 (1991).

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       III. The defendant was not acquitted of any
            charge where no verdicts of acquittal were
            returned, announced, and affirmed by the
            jurors in open court.

       As this Court has explained in rejecting a claim

 of double jeopardy based on purported acquittals:

       The only verdict which can be received and
       regarded, as a complete and valid verdict of a
       jury, upon which a judgment can be rendered, is
       an open and public verdict, given in and assented
       to, in open court, as the unanimous act of the
       jury, and affirmed and entered of record, in the
       presence and under the sanction of the court.

 A Juvenile, 392 Mass. at 56-57, quoting Lawrence v.

 Stearns, 11 Pick. (28 Mass.) 501, 502 (1831).            See

 Mass. R. Crim. P. 27(a) (verdict must be “returned by

 the jury to the judge in open court”).          “It is not

 enough to show that the jury may have agreed on some

 issues at some time; if that limited showing were to

 control, uncertainties would be invited.”           A Juvenile,

 392 Mass. at 57 (signed verdict slips showing “not

 guilty” entries, found in deliberation room after

 mistrial declared due to deadlock, not acquittals).

       The jurors here did not return, announce, and

 affirm any verdict.      Their only open and public,

 unanimous acts were their statements to the judge that

 they were unable to reach a unanimous verdict or to

 attain consensus, remained at an impasse, and were



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 starkly divided on whether the evidence was sufficient

 to establish “the elements of the charges” (S.R.5;

 R.268).   See Commonwealth v. Brown, 470 Mass. 595,

 603-604 (2015) (acquittal requires verdict resolving

 all elements of charged offense).          The trial judge

 correctly ruled that the defendant was not acquitted

 of any charge.    See Add.64; R.397.

       The requirement of an open and public verdict

 announced and affirmed in court is not a mere

 “formalism” (D.Br.23).      “Public affirmation in open

 court provides safeguards against mistakes.”

 A Juvenile, 392 Mass. at 57.        See also Commonwealth v.

 Zekirias, 443 Mass. 27, 33 (2004) (verdict must be

 “affirmed in open court, as the unanimous act of the

 jury, and in presence of the whole panel,” so that

 each juror may express dissent if their decision has

 been mistaken, misrepresented, or coerced by other

 jurors [quotation omitted]).        It also protects each

 juror’s right to re-evaluate their position, and to

 change their mind on any issue or their vote on any

 charge, during deliberations.          See A Juvenile, 392

 Mass. at 56 (“A jury should not be precluded from

 reconsidering a previous vote on any issue, and the

 weight of final adjudication should not be given to

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 any jury action that is not returned in a final

 verdict” [quotation omitted]).9          As the judge aptly put

 it, the rendering of a verdict “communicates the

 finality of the deliberations, and its pronouncement

 in open court ensures its unanimity” (Add.65; R.398).

       None of the cases relied on by the defendant

 holds otherwise.        Those cases addressed criminal

 proceedings terminated by judicial action, not a

 jury’s determination on the evidence and the law.10



       9 See also, e.g., Daniels, 441 Mass. at 1017
 (on first full day of deliberations, jury told judge
 it had reached unanimous verdict on one charge but not
 others; judge ordered jury to resume deliberations;
 next day, jury reported it had not reached unanimous
 decision on any charge); Floyd P., 415 Mass. at 829
 (jury note requesting instruction on how to proceed
 where jury had unanimously voted guilty on charges of
 armed robbery and aggravated rape, but where two
 jurors stated they would change their votes “if the
 conviction on rape has to result in first degree
 murder”); A Juvenile, 392 Mass. at 53 (jury initially
 reported it could reach verdict on murder charge, but
 next day it sent judge note indicating it was
 deadlocked on that charge).
       10See D.Br.22-24; Hudson v. Louisiana, 450 U.S.
 40, 40-41 & n.1 (1981) (motion for new trial on ground
 that evidence was legally insufficient, which was only
 procedural means available under state criminal code
 for raising sufficiency challenge); United States v.
 Martin Linen Supply Co., 430 U.S. 564, 570-572 (1977)
 (motion for judgment of acquittal under Fed. R. Crim.
 P. 29[c]); Taylor, 486 Mass. at 481-482 (judge’s
 directing of verdict functionally equivalent to
 declaration of mistrial); Commonwealth v. Babb, 389
 Mass. 275, 281-282 (1983) (dismissal of complaints for
 failure to comply with “no-fix” law). The defendant
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 The defendant’s argument proceeds from a selective

 quotation of those cases, removing the references to

 judicial action.        Compare D.Br.22 with Taylor, 486

 Mass. at 482 and Babb, 389 Mass. at 281, both quoting

 from United States v. Martin Linen Supply Co., 430

 U.S. 564, 571 (1977) (“What constitutes an ‘acquittal’

 is not to be controlled by the form of the judge’s

 action. . . . Rather, we must determine whether the

 ruling of the judge, whatever its label, actually

 represents a resolution, correct or not, of some or

 all of the factual elements of the offense charged.”)

 (emphases added).        The omission is significant.

 With judicial action, double jeopardy principles

 distinguish between a ruling on the merits and a

 ruling on procedural grounds; the substance of the

 ruling, regardless of its form (or how it is styled),

 makes a difference.        See Taylor, 486 Mass. at 481-482;

 Babb, 389 Mass. at 281.        There is no such distinction

 with a jury determination, and judicial action does

 not require the same safeguards that are served by the

 verdict requirement.        Judicial action and jury




 also cites Ball v. United States, 163 U.S. 662 (1896),
 but in that case there was a jury verdict “duly
 returned and received.” Ball, 163 U.S. at 671.
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 determinations occur in different contexts.             The rule

 for the former does not logically or necessarily

 extend to the latter.

       Even granting the defendant her flawed premise,

 there were no acquittals here for the same reasons as

 in Blueford and A Juvenile.         In Blueford, the

 foreperson disclosed to the judge that the jury had

 voted unanimously against guilt on two of the

 offenses, was deadlocked on a third, and had not voted

 on a fourth.    See Blueford, 566 U.S. at 603-604.           The

 jury continued to deliberate, later reported to the

 judge that it had not reached a verdict, and the judge

 declared a mistrial.      See id. at 604.

       The defendant there similarly argued “acquittal

 is a matter of substance, not form,” and that he had

 been “actually acquitted” of the two offenses based on

 the foreperson’s report of the jury’s unanimous votes.

 Id. at 605-606.     The United States Supreme Court

 expressed no approval of his premise of substance-not-

 form and instead rejected the argument on its own

 terms.   See id. at 606, 608 (reported votes were not

 acquittals, “quite apart from any requirement that a

 formal verdict be returned or judgment entered”).

 “The foreperson’s report was not a final resolution of

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 anything,” the Court held, because the jurors

 continued to deliberate after that report and were

 therefore free to revisit their prior votes and to

 change their minds.        Id. at 606-608.     The Court

 further noted that it would be “unjustified” to assume

 the reported votes did not later change given the

 possibility that even a single juror could have

 rethought their position on those offenses.               Id. at

 608.

        Likewise, in A Juvenile, this Court held that the

 signed verdict slips showing “not guilty” entries,

 which were found in the deliberation room after the

 declaration of a mistrial due to deadlock, did not

 constitute acquittals.        See A Juvenile, 392 Mass. at

 56-57.    It was “not enough to show that the jury may

 have agreed on some issues at some time,” otherwise

 “uncertainties would be invited.”          Id. at 57.       As the

 defendant points out, “[t]here was no indication as to

 when the entries were made or in what circumstances,

 much less that they reflected a final, unanimous

 conclusion of all jurors” (D.Br.25).

        The same is true of the purported juror

 statements here.        A closer reading of them reveals

 that they do not identify at what point during the

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 five days of deliberations the jury allegedly reached

 unanimous agreements on two of the charges.             See

 R.283-287, 292-293, 323-326, 330-331.          As such, they

 do not foreclose the possibility that the supposed

 unanimity perceived by some jurors was based on a

 preliminary discussion or straw poll conducted early

 on in, or at the start of, the deliberations -- the

 very scenario cited by the Supreme Court as a

 cautionary example.      See Blueford, 566 U.S. at 607-608

 (“A single juror’s change of mind is all it takes to

 require the jury to reconsider”).        See also Roth, 437

 Mass. at 793 (even “most recent ‘vote’ immediately

 prior to reporting deadlock may well be tentative, a

 failed experiment in compromise, and not a true

 expression of each juror’s assessment of the case”).

       The trial judge properly rejected the defendant’s

 attempt to bolster these statements with a post-trial

 inquiry of the jurors, as it is well settled that

 inquiring into the jury’s deliberations, including a

 juror’s individual or the jury’s collective decision-

 making or thought processes, is impermissible.                See

 Add.73-75; R.406-408; Commonwealth v. McCalop, 485

 Mass. 790, 799-800 (2020); Commonwealth v. Blanchard,

 476 Mass. 1026, 1027-1028 (2017); Commonwealth v.

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 Moore, 474 Mass. 541, 553 (2016); Commonwealth v.

 McCowen, 458 Mass. 461, 494 n.35 (2010); A Juvenile,

 392 Mass. at 57; Commonwealth v. Fidler, 377 Mass.

 192, 198-201 (1979), overruled on other grounds,

 Moore, 474 Mass. at 547-548.11

       The defendant argues that an alleged unanimous

 but unannounced agreement among the jurors should be

 considered the type of “overt factor” that is an

 appropriate subject of inquiry.        See D.Br.27-29,

 relying on Fidler, 377 Mass. at 198.         But, in Fidler

 itself, this Court explained that a jury’s decision-

 making process, any individual juror’s thought

 processes or mental impressions, the reasons for the

 jurors’ decisions, or anything else that intrudes on

 the jury’s deliberations do not constitute “overt

 factors.”    See Fidler, 377 Mass. at 198-201.          See also

 McCowen, 458 Mass. at 494 n.35 (reaffirming that

 “overt factors” appropriate for inquiry do not include

 content of jury’s deliberations); A Juvenile, 392


       11See also Mass. G. Evid. § 606(b) (Add.##)
 (during inquiry into validity of verdict, “a juror may
 not testify about any statement made or incident that
 occurred during the jury’s deliberations, the effect
 of anything on that juror’s or another juror’s vote,
 or any juror’s mental processes concerning a verdict,”
 and judge may not “receive a juror’s affidavit or
 evidence of a juror’s statement on these matters”).
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 Mass. at 57, citing Fidler, 377 Mass. at 193-198

 (no error in denying post-trial request to subpoena

 foreperson because “[t]hat process could only be aimed

 at an impeachment, months after the fact, of the

 jury’s report to the judge in open court, and we

 conclude that such an impeachment, in the

 circumstances shown here, would be impermissible”).

       The defendant further argues that inquiry should

 be permitted here because double jeopardy is a

 fundamental constitutional right.        See D.Br.29-32.

 The Appeals Court rejected a similar argument in

 Commonwealth v. DiBenedetto, 94 Mass. App. Ct. 682

 (2019), where it noted if that logic were to control

 and inquiry could be made whenever “bedrock

 constitutional rights” are implicated, “the exceptions

 [would] swallow the rule.”       DiBenedetto, 94 Mass. App.

 Ct. at 687 (declining to permit inquiry into whether

 verdict announced in court was unanimous).              See also

 A Juvenile, 392 Mass. at 57 (affirming denial of

 request for post-trial inquiry based on double

 jeopardy claim).

       Attempting to establish any alleged unanimity

 reached by the jurors here in the course of their

 deliberations would necessarily entail proscribed

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 inquiry into deliberations.           Although the judge

 accepted the purported juror statements (which contain

 two, three, or even four levels of hearsay) as true

 and accurate for purposes of deciding the motion, she

 explicitly disagreed with the defendant’s

 characterization of those statements as being “strong

 and uncontradicted” (Add.63; R.396).           For one thing,

 the statements “directly contradict[ed]” the jurors’

 notes during their deliberations, including their

 final note expressing their stark divide as to “the

 elements of the charges” (Add.63; R.396).

       The defendant says the jurors’ reference to

 “charges” can be readily understood to mean the OUI

 manslaughter charge and its lesser-included offenses.

 See D.Br.33, 45.        That is not the more natural and

 straightforward reading, nor is it consistent with the

 defendant’s position at trial.           See Add.70; R.403

 (“For the defense to now claim that the notes were

 susceptible to different interpretations such that the

 Court should have inquired further rings hollow,

 particularly where Attorney Yannetti had twice argued

 that the jury had engaged in due and thorough

 deliberations and could not agree.”).            But more

 importantly, it does not matter how the defendant now,

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 in hindsight, interprets it; it matters what the

 jurors meant at the time, and why they said it.               That

 cannot be determined without inquiring into their

 thinking and deliberations.           See Add.74-75; R.407-408.

       As another example, according to Juror C, the

 jury was unanimous only as to second-degree murder and

 “the remaining charges were what they were hung on”

 (R.284-285).12    Apparently even the five purported

 jurors, to say nothing of the seven other jurors, were

 not of one mind.        These and other discrepancies would

 need to be reconciled to establish with any confidence

 whether in fact, or to what extent, any unanimity may

 have been reached, and that would require an

 impermissible inquiry into the jurors’ deliberative

 process.

       Additional considerations militate against the

 requested inquiry.       Jurors questioned at this point,


       12 There are additional contradictions. Juror B
 said that following Tuey-Rodriguez, the deliberations
 “turned into a bully match” (R.283, 330). Juror C,
 however, said the jurors “all got along and never
 heated. They agreed to disagree and respected each
 other” (R.285). Juror B also said the jury’s vote on
 the OUI manslaughter charge was “split in half”
 (R.283, 330); Juror C said the vote “started polling
 at 6/6,” but “ended deadlock[ed] @ 4no8yes” (R.284);
 and the purported juror who left a voicemail for the
 prosecutor said the final vote was “9-3 guilty”
 (R.325).
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 more than three months after they were discharged, may

 feel pressured to provide responses that they believe

 will minimize their risk of being harmed or harassed.

 As described in the judge’s order impounding the list

 of the jurors’ names, and in Juror Doe’s affidavit,

 people associated with this case have been charged

 criminally with witness intimidation.            Individuals

 have also expressed outrage at the jurors and sought

 to identify them and release their personal

 information for the purposes of harassing and shaming

 them.        Juror Doe said they fear for their personal

 safety and that of their family, and they worry that

 they will be subject to harassment or even physical

 harm because of what they did or did not do on the

 jury and the outcome of the jury’s deliberations.

 Several of the purported jurors also wish to remain

 anonymous (R.293, 324-325).13




         13
         The defendant claims that, “in the context of
 this highly publicized case, it strains credulity to
 suggest” that if the purported juror statements did
 not “represent the unanimous view of all 12, the
 remaining jurors would allow the inaccuracy to go
 uncorrected” (D.Br.24). Clearly, there is another
 reasonable explanation for why other jurors have not
 drawn further attention to themselves. See also R.331
 (Juror B stating they believe “other jurors have been
 reluctant to come forward because there is so much
 public and media attention focused on this case”).
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       The concerns are forward-looking as well:

       The proper evidence of the decision of the jury
       is the verdict returned by them upon oath and
       affirmed in open court; it is essential to the
       freedom and independence of their deliberations
       that their discussions in the jury room should be
       kept secret and inviolable; and to admit the
       testimony of jurors to what took place there
       would create distrust, embarrassment and
       uncertainty.

 Fidler, 377 Mass. at 196, quoting Woodward v. Leavitt,

 107 Mass. 453, 460 (1871).       If jurors’ deliberations

 are allowed to become the subject of post-trial

 inquiry because of purported statements like those

 here, future jurors may be hesitant to express their

 views fully and honestly during deliberations.            It

 also may be more difficult to find jurors willing to

 serve, both in the retrial here and in other cases,

 when jurors know their service may not end when the

 trial ends but could instead subject them to further

 inconvenience, embarrassment, or harassment well into

 the future.

                           CONCLUSION

       For these reasons, the Commonwealth respectfully

 requests that this case be remanded to the county

 court for entry of a judgment denying the petition.




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                                Respectfully submitted for
                                the Commonwealth,

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                         COMMONWEALTH OF MASSACHUSETTS



NORFOLK, ss.                                                           SUPERIOR COURT

                                                                       CRIMINAL ACTION

                                                                       22-00117



                                      COMMONWEALTH




                                          KARENREAD



                       MEMORANDUM OF DECISION AND ORDER ON

                            DEFENDANT'S MOTION TO DISMISS



       On June 9, 2022, a Norfolk County grand jury indicted defendant Karen Read on charges



of murder in the second degree (Indictment 1), manslaughter while operating under the influence



of alcohol (Indictment 2), and leaving the scene of personal injury and death (Indictment 3)



following the death of her boyfriend, John O'Keefe, on January 29, 2022.       Trial on the matter



began in April 2024.    There were eight weeks of evidence and nearly five days of deliberations.



After the jurors expressed to the Court that they were deadlocked for a third time, the Court



declared a mistrial.



        The defendant now moves to dismiss the charges for murder in the second degree and



leaving the scene of personal injury and death arguing that retrial would violate the double



jeopardy protections of the federal and state constitutions because the jury, in fact, reached a



unanimous decision to acquit the defendant on those charges.      Alternatively, the defendant



argues that dismissal is required because there was no manifest necessity to support the



declaration of the mistrial with respect to those charges.   After careful consideration, this Court



concludes that because the defendant was not acquitted of any charges and defense counsel



consented to the Court's declaration of a mistrial, double jeopardy is not implicated by retrial of



the defendant.   The motion is therefore DENIED.




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                                                                BACKGROUND



             On June 25, 2024, the jury began its deliberations in the defendant's trial.                                       In addition to



the three indictments, the Court had instructed the jury to consider two lesser included offenses



to manslaughter while operating under the influence of alcohol -- involuntary manslaughter and



motor vehicle homicide (OUI liquor and negligence).



             On Friday, June 28, 2024, at approximately 1 2 : 1 0 p.m., the jury foreperson sent a note to



the Court.         It stated: "I am writing to inform you on behalf of the jury that despite our exhaustive



review of the evidence and our diligent consideration of all disputed evidence, we have been



unable to reach a unanimous verdict."                           The Court requested argument from the Commonwealth



and the defendant as to whether there had been due and thorough deliberation from the jury.



Assistant District Attorney Lally, on behalf of the Commonwealth, argued that the jury had not



had sufficient time to deliberate and that therefore, it was far too early in the deliberative process



to give the jury the Tuey-Rodriguiez instruction.'                                  He also pointed out that although the note



indicated that the jury had not yet come to a conclusion, it did not indicate that doing so was not



possible.         Attorney Yannetti, on behalf of the defendant, "disagree[d] with Mr. Lally's



characterization of the note."                    He argued:



                         "The word exhaustive is the word that I think is operative here.                                [The

                         jury     is]   communicating                to   the   court   that they've         exhausted        all

                         manner of compromise, all manner of persuasion and they're at an

                         impasse.        You know, this is a case where they jury has the legal

                         instructions.       They've only really asked one question, which was to

                         try and get a report they were not allowed to get, and I think the

                         message has been received that the evidence                                  is closed and they

                         won't get anything more. They've been essentially working nonstop




 1
     The   use of the   Tuey-Rodriguiez instruction            is   a matter of discretion   of the   trial judge.   Commonwealth v. Parreira,

72 Mass.        App.   Ct.   308, 3 1 6 (2008).   It is the "orthodox approach          to dealing with    a deadlocked jury" see



Commonwealth v. Firmin, 89 Mass.                  App.   Ct.   62, 64 (2016) (citation       omitted),   and   "designed to   urge   the jury   to


reach      a verdict   by giving more serious consideration to opposing points of view."                       Commonwealth v. Semedo, 456

Mass.      I,   20 (2010).




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                 over the last three, four days.          We're approaching a weekend.                            They

                 didn't come back with this at three o'clock or four o'clock.                                They're

                 at twelve o'clock and they have nowhere to turn.                          So our position is

                 the jury should be read the Tuey-Rodriguez model instructions and

                 go from there."



The Court ruled that given the length of the trial, the number of exhibits and witnesses, the



complexity of the issues, and that the jury had only been deliberating for three days,



deliberations had not been sufficiently due and thorough to warrant a Tuey-Rodriguiez



instruction.   It instructed the jury to continue deliberating.



         On Monday, July      I,    2024, at approximately 10:45 a.m., the jury sent another note to this



Court.   This note stated:



                 "Despite     our    commitment          to    the    duty        entrusted       in   us,   we     find

                 ourselves deeply divided by fundamental differences in our opinions

                 and state of mind.       The divergence in our views are not rooted in a

                 lack of understanding or effort but deeply held convictions that each

                 of   us   carry,    ultimately     leading      to    a     point       where         consensus       is

                 unattainable.       We recognize the weight of this admission, and the

                 implications it holds."



The Court again requested argument from counsel as to whether there had been due and



thorough deliberations.      The Commonwealth argued that the jury had been deliberating twenty­



two to twenty-three hours but given the length of trial, number of exhibits and witnesses, and



complexity of issues, they had not done a thorough deliberation up to this point.                                       Attorney



Yannetti, again, had a vastly different view.                 He argued:



                  "Our view is that it is time for a Tuey-Rodriguez [instruction].                                  They

                  have come back twice indicating essentially that they're hopelessly

                  deadlocked but the content of this latest message is that they have

                  been over all the evidence.            The previous message said they did an

                  exhaustive       review.     This      time        they    said     that    .    .   .   they     have

                  fundamental disagreements about what the evidence means.                                          It's a

                  matter of opinion.         It's not a matter of lack of understanding.                            This

                  court when you sent the jury out encouraged them not to take a straw

                  vote,    encouraged        them   to    go    over        all    the   evidence          in   a   very




                                                                 3




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                   methodical manner.          I think all indications are that they have done

                   that.    This is what Tuey-Rodriguez is for."



The Court agreed that the jury had engaged in due and thorough deliberations, noting that this



jury had been "extraordinary" and it had never seen a note like this from a jury.                     It thereafter



provided the jury of the full Tuey-Rodriguez instruction and asked them to return to the


                                                         2
deliberations with those instructions in mind.



          That same day, at approximately 2:30 p.m., the jury sent another note to the Court.                      The



Court stated to counsel that the jury was at an impasse.                After the jurors filed into the courtroom,



the Court read the note:



                    "Despite our rigorous efforts we continue to find ourselves at an

                    impasse.       Our perspectives      on the     evidence   are   starkly   divided.

                    Some members of the jury firmly believe that the evidence surpasses

                    the burden of proof establishing the elements of the charges beyond

                    a reasonable doubt.         Conversely, others find the evidence fails to

                    meet this standard and does not sufficiently establish the necessary

                    elements of the charges.          The deep division is not due to lack of

                    effort or diligence, but rather a sincere adherence to our individual

                    principles and moral convictions.             To continue to deliberate would




?   The Tuey-Rodriguez instruction states: "Our Constitution and laws provide that in a criminal case, the principal

method for deciding questions of fact is the verdict of a jury.    In most cases and perhaps strictly speaking in all cases

absolute certainly cannot be obtained nor is it expected.    The verdict to which each juror agrees must of course be

his or her own verdict, the result of his or her own convictions, and not merely an acquiescence in the conclusions of

other jurors.   Still, in order to bring twelve minds to a unanimous result, you must examine the issues you have to

decide with candor and with the proper regard and respect for each other's opinions.       You should consider that it is

desirable that this case be decided.    You have been selected in the same manner and from the same source as any

future jury would be selected.     There is no reason to suppose that this case will ever be submitted to twelve persons

who are more intelligent, more impartial, or more competent to decide it than you are or that more or clearer

evidence will be produced at another trial. With all this in mind it is your duty to decide this case if you can do so

conscientiously.    In order to make a decision more attainable, the law always imposes the burden of proof on the

Commonwealth to establish every essential element of each indictment beyond a reasonable doubt.           If you are left

 with a reasonable doubt as to any essential element of any indictment, then the defendant is entitled to the benefit of

that doubt and must be found 'not guilty' on that indictment.      In conferring together, you are to give proper respect

 to each other's opinions, and listen with an open mind to each other's arguments.      Where there is disagreement,

 those jurors who would find the defendant 'not guilty' should consider whether the doubt in their minds is a

 reasonable one if it makes no impression on the minds of the other jurors who are equally intelligent, who have

 heard the same evidence with the same attention, who have an equal desire to arrive at the truth and who have taken

 the same oath as jurors.    At the same time, those jurors who would find the defendant 'guilty' ought seriously to ask

 themselves whether they may' not reasonably doubt the correctness of their judgment if it is not shared by other

 members of the jury.      They should ask themselves whether they should distrust the weight or sufficiency of the

 evidence if it has failed to convince the minds of their fellow jurors beyond a reasonable doubt."



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                 be futile and only serve to force us to compromise these deeply held

                 beliefs."



After reading this note, the Court declared a mistrial and discharged the jury back to the



deliberation room to wait for the judge.       Counsel remained in the courtroom to discuss an



agreeable date to return for a status conference.



          On July 8, 2024, the defendant filed the instant motion to dismiss supported by affidavits



from Attorney Yannetti and co-counsel, Attorney Jackson.         Attorney Jackson's affidavit stated



that on July 2, 2024, a juror in the case ("Juror A") contacted him.     Attorney Jackson was able to



identify the person as a deliberating juror based on his/her description of who he/she is, where



he/she was seated, and certain identifying information (name and occupation) disclosed during



the voir dire process.   According to Attorney Jackson's affidavit, Juror A told him that he/she



wished to inform him of the true· results of the deliberations because he/she believed those results



significantly impact the defendant's rights.      Juror A said the jury unanimously agreed that the



defendant was not guilty of Counts 1 and 3 and specifically that the murder charge was "off the



table."   First Jackson Affidavit at par. 5.



          In his affidavit, Attorney Jackson also stated: "Neither Ms. Read nor her counsel



consented to the entry of the mistrial.   Defense counsel was denied the opportunity to request



that the Court inquire on which count or counts the jury may have been deadlocked (including



lesser included offenses), and on which count or counts the jury may have arrived at a verdict."



Id at pars. 9 and 10.



          Attorney Yannetti's affidavit averred that on July 3, 2024, he received communications



from two "informants" who had received information from two deliberating jurors in the case.



The first informant ("Informant B") sent him a screenshot he/she had received from someone



else ("Intermediary B") of text messages that Intermediary B had purportedly received from a




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juror ("Juror B").    Attorney Yannetti averred that he was able to positively identify which juror



was Juror B based on a first name given to him from Infonnant B.                  In the screenshot, Juror B



texted Intermediary B, "It was not guilty on second degree.              And split in half for the second



charge.    When the judge sent us back with that Hernandez thing to look at the other side it turned



into a bully match.     I thought the prosecution didn't prove·the case.           No one thought she hit him



on purpose or even thought she hit him on purpose . . . . "           Yannetti Affidavit at par. 4.



          Attorney Yannetti stated that another informant ("Informant C) contacted him on July 3,



2024.     Informant C told him he or she personally knows a juror ("Juror C) and that Informant C



and Juror C have a mutual friend ("Intermediary C") who is a current coworker and friend of



Juror C.    Intennediary C told Informant C via text message that Juror C was a deliberating juror



in the case.   Intermediary C had a discussion over text message with Juror C about the



experience of being a juror.        Intermediary C said that Juror C said there was "no consideration



for murder 2.     Manslaughter started polling at 6/6 then ended deadlocked [at] 4 n o 8 y e s. . . "



Yannetti Affidavit at par. 10.       Informant C texted back, "interesting. If there was no



consideration for murder two, shouldn't she have been acquitted on that count[] and hung on the


                                                                                                 3
remaining chargers [sic] goes back to the jury verdict slip that was confusing."                     Id.



Intermediary C texted, "she should've been acquitted I agree.                Yes, the remaining charges were



 what they were hung on. And that instruction paper was very confusing."                   Id.



           Attorney Yannetti stated that based on the description of Juror C he received from



 Informant C and the description of what Juror C told Intermediary C, he could positively identify



 that Juror C was a deliberating juror.




 ' As noted below, defense counsel argued to the Court that the verdict slip for Indictment 2, which allowed the

 foreperson to check "guilty" for the lesser included offenses, would be confusing for the jury if they decided the

 defendant was not guilty of all the lesser included offenses.



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        Attorney Yannetti later filed a supplemental affidavit in support of the defendant's



motion to dismiss wherein he stated that he received an unsolicited phone call from an individual



identifying himself/herself as Juror B.   Juror B told Attorney Yannetti that he/she was familiar



with the affidavit he had previously filed and confirmed the substance of the conversation



between Informant B and Intermediary B.        Juror B clarified that he/she meant to write, "No one



thought she hit him on purpose or even knew that she had hit him."        Yannetti Supplemental



Affidavit at par. 4.



         On July 10, 2024, Attorney Jackson submitted a supplemental affidavit stating that on



 July 8, 2024, another juror ("Juror D") contacted him.     He identified this person as a juror by the



 description of who he/she is, where he/she was seated, and certain identifying information (name



 and occupation) disclosed during the voir dire process.     Juror D told Attorney Jackson that



 "he/she was 'uncomfortable' with how the trial e n d e d . . . . Juror D said that it was very troubling



 that the entire case ended without the jury being asked about each count, especially Count I and



 Count 3."    Jackson Supplemental Affidavit at pars. 3-4.    According to Jackson's Supplemental



 Affidavit, Juror D told him that the jury agreed that the defendant was not guilty on Counts 1 and



 3, that they disagreed solely on Count 2's lesser offenses, but that they believed that they were



 compelled to come to a resolution on all counts before they could or should report verdicts on



 any counts.   Juror D believed all jurors would corroborate his/her account.     He/she also stated



 that if necessary, he/she would testify before the court as long as his/her identity remained



 protected.



         On July 1 8 , 2024, Attorney Jackson submitted a second supplemental affidavit stating



 that on July 17, 2024, he was contacted by another juror ("Juror E") who he identified by the



 description of who he/she is, where he/she was seated, and certain identifying information (name




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and occupation) disclosed during the voir dire process.      Juror E also stated that the jury was



unanimous on Counts 1 and 3, that the defendant was not guilty of those charges, and that they



were deadlocked on one of the "lower charges" on Count 2.         Jackson Second Supplemental



Affidavit at par. 5.



         On August 1 , 2024, the Commonwealth filed a Post-Trial Notice of Disclosure stating



that ADA Lally had received two unsolicited voicemails from an individual identifying



themselves as a deliberating juror stating that the jury had been unanimous on Counts l and 3.



The Commonwealth also received emails from three individuals identifying themselves as jurors



stating that they wished to speak anonymously.    In its response to the emails, the Commonwealth



stated that it was ethically prohibited from inquiring as to the substance of the jury deliberations,



and that it could not promise confidentiality as it may be required to disclose the substance of



any conversation to the defendant or the Court.   All three jurors declined to communicate further



with the Commonwealth.



                                           DISCUSSION



         The Fifth Amendment to the United States Constitution, applicable to the States through



the Fourteenth Amendment to the United States Constitution, and Massachusetts common and



statutory law protect an individual defendant from being twice placed in jeopardy for the same



crime.   Perrier v. Commonwealth, 489 Mass. 28, 3 1 (2022).        See Commonwealth v. Taylor, 486



Mass. 469, 483 (2020), quoting Oregon v. Kennedy, 456 U.S. 667, 671-672 (1982) ("[T]he



(d]ouble O]eopardy (c]lause affords a criminal defendant a 'valued right to have his trial



completed by a particular tribunal"   [citation omitted]).    A defendant is entitled to protection



from double jeopardy "if there had been some event, such as an acquittal, which terminates the



original jeopardy," see Commonwealth v. Hebb, 477 Mass. 4 0 9 , 4 13 (2017), or ifa mistrial is




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entered "without the defendant's request or consent . . . unless there was a manifest necessity for



the mistrial" (quotation and citations omitted).           Taylor, 486 Mass. at 483.       See Hebb, 477 Mass.



at 4 1 3 , quoting Yeager v. United States, 557 U.S. 1 1 0 , 1 1 8 (2009) ("The 'interest in giving the



prosecution one complete opportunity to convict those who have violated its laws' justifies



treating the jury's inability to reach a verdict as a nonevent that does not bar retrial.").



          In her motion to dismiss, the defendant argues that retrial on Indictments I and 3 would



violate the double jeopardy protections of the federal and state constitutions because, despite



absence of a jury verdict, the jury, in fact, reached a unanimous decision to acquit her on those



charges, or alternatively, because there was no manifest necessity to support the declaration of



the mistrial with respect to the charges.         After careful consideration, the Court concludes that the



defendant's arguments are without merit.



          I.       Acquittal of the Defendant



          The defendant first contends that she was acquitted on Indictments I and 3, and that



therefore retrial is barred based on her attorneys' affidavits purporting to reflect statements by



jurors that the jury reached a unanimous conclusion that she was not guilty on those charges.



Although all the statements in the affidavits are from purported jurors who wish to remain



anonymous, for the purposes of this motion, the Court accepts the statements as true and


            4
accurate.       Even doing so, any agreement among the jurors as to Counts I and 3 cannot be



considered acquittals for purposes of double jeopardy.



           To trigger double jeopardy protection, "[a]n acquittal requires a verdict on the facts and



merits" (citations and quotations omitted).            Commonwealth v. Brown, 470 Mass. 5 9 5 , 6 0 3




4
    While the Court accepts the averments as true and accurate, it disagrees with defense counsel's characterization of

the statements as "strong and uncontradicted."    The substance of the conversations directly contradicts the notes the

jury wrote to the Court during deliberations, the last of which expresses disagreement over whether the

Commonwealth met its burden as to the "elements of the charges." (Emphasis added).



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(2015).   See G. L. c. 263, § 7 ( A person shall not be held to answer on a second indictment or



complaint for a crime of which he has been acquitted upon the facts and m e ri t s . . . " ) .     And, "the



only verdict which can be received and regarded, as a complete and valid verdict of a j ury . . . , is



an open and public v e r d i c t . . . affirmed in open court, as the unanimous act of the jury, and in



presence of the whole panel, so that each juror has an opportunity to express his dissent to the



court, in case his decision has been mistaken or misrepresented by the foreman or his fellows, or



in case he has been forced into acquiescence by improper means" (citations omitted).



Commonwealth v. Zekirias, 443 Mass. 27, 33 (2004).             See Mass. R. Crim. P. 27(a) ("The verdict



shall be unanimous. It shall be a general verdict returned by the jury to the judge in open court.



The jury shall file a verdict slip with the clerk upon the return of the verdict.").         As such, "the



weight of final adjudication" cannot "be given to any jury action that is not returned in a final



verdict" and a distinction must be made "between agreement on a verdict, and return, receipt,



and recording of a verdict" (citations omitted).        A Juvenile v. Commonwealth, 392 Mass. 52, 56-



57 (1984).



          Because there was no open and public verdict affirmed in open court rendered in this



case, the defendant was not acquitted of any of the charges.           The only unanimous act of the jury



here was their representation to the Court that they were "at an impasse" and unable to agree on



whether the Commonwealth had established beyond a reasonable doubt the "elements of the



charges."    The purported later attestations by some jurors, after they had been dismissed, that the



jury had in fact agreed on some of the charges during deliberations do not have the "force of a



final verdict."   Commonwealth v. Floyd P. , 4 1 5 Mass. 8 2 6 , 8 3 1 ( 1 9 9 3 ) .   See A Juvenile, 392



Mass. at 57 (after mistrial was declared due to deadlock, judge did not err in refusing to accept



signed verdict slips recovered from deliberation room showing "not guilty" because "[i]t is not




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enough to show that the jury may have agreed on some issues at some time; if that limited



showing were to control, uncertainties would be invited"); see also Blueford v. Arkansas, 566



U.S. 599,606 (2012) (double jeopardy did not bar retrial after hung jury where foreperson



reported unanimous vote on offense before deliberations had concluded but deadlock at



conclusion).



         The defendant argues that it is elevating form over substance to not accept that the



statements in the affidavits reflect an acquittal of the defendants on Counts 1 and 3.                   However,



the rendering of a verdict in open court is not a "ministerial act" as the defendant contends.



Rather, it communicates the finality of the deliberations, and its pronouncement in open court



ensures its unanimity.      See A Juvenile, 392 Mass. at 57 (Public affirmation in open court



provides safeguards against mistakes.").          Indeed, the authority upon which the defendant relies



places particular importance upon the jury's pronouncement of its findings in open court.                          See



Blueford, 566 U.S. at 6 1 3 (Sotomayor, J., dissenting) (arguing that "the forewoman's



announcement in open court that the jury was 'unanimous against' conviction on capital and



first-degree m ur d e r . . . was an acquittal for double jeopardy purposes").'           Thus, a "verdict in



substance" is a "final collective d e c i s i o n . . . reached after full deliberation, consideration, and



compromise among the individual j ur o r s . . . And when that decision [is] announced in open



court, it [becomes] entitled to full double jeopardy protection" (emphasis added).                     Id. at 6 1 6 ,



citing Commonwealth v. Roth, 437 Mass. 777, 796 (2002) (declining to give effect to 'the



verdict received from the lips of the foreman in open court' would 'elevate form over




 ' In written and oral argument, the defendant also relies on language from Taylor, 486 Mass. at 482.     Taylor

 discussed whether a judicial determination to terminate proceeding based on a procedural ground implicated double

jeopardy.   The Supreme Judicial Court explained, "What constitutes an 'acquittal' is not to be controlled by the form

 of the judge's action," and that the determination does not depend on "checkmarks on a form."   Id.    This language in

 Taylor does not inform the Court as to the circumstances here.



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substance").   Where there was no verdict announced in open court here, retrial of the defendant



does not violate the principle of double jeopardy.



       II.     Manifest Necessity of Mistrial



       The defendant's motion to dismiss also argues that double jeopardy bars re-prosecution



because she did not consent to a mistrial and there was no manifest necessity to declare one.



This argument, too, is without merit.



       "A defendant's consent to a mistrial removes any double jeopardy bar to retrial"



(quotation and citation omitted).   Pellegrine v. Commonwealth, 446 Mass. 1004, 1005 (2006).



Consent may be explicit or implicit.    Explicit consent may occur by either moving for a mistrial



or agreeing to one.    Commonwealth v. Edwards, 491 Mass. 1, 1 3 (2022).      Consent to a mistrial



may be implied "where a defendant had the opportunity to object [to a declaration of a mistrial]



and failed to do so."   Pellegrine, 446 Mass. at 1005.   See United States v. McIntosh, 380 F.3d



548, 554 (1st Cir. 2004) ("Where the defendant sits silently by and does not object to the



declaration of a mistrial even though he has a fair opportunity to do so, a court may presume his



consent" [quotation and citation omitted]).   See also United States v. You, 382 F.3d 958, 964-965



(9th Cir. 2004), cert. denied, 543 U.S. 1076 (2005) ("a court may infer consent only where the



circumstances positively indicate a defendant's willingness to acquiesce in the mistrial order"



[quotations and citations omitted]); United States v. Goldstein, 479 F.2d 1 0 6 1 , 1067 (2d Cir.



1973) ("Consent [to a mistrial] need not be express, but may be implied from the totality of the



circumstances attendant on a declaration of a mistrial.").



       As noted, the Court here declared a mistrial after the jury reported three times that they



were deadlocked.      After the second time, the Court determined that the jury had engaged in due



and thorough deliberations and gave the Tuey-Rodriguez instruction before sending the jury to




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deliberate further.   Massachusetts General Laws c. 234A, § 68C, provides that if "a jury, after



due and thorough deliberation, returns to court without having agreed on a verdict, the court may



state anew the evidence or any part of the evidence, explain to them anew the law applicable to



the case and send them out for further deliberation; but if they return a second time without



having agreed on a verdict, they shall not be sent out again without their own consent, unless



they ask from the court some further explanation of the law" (emphasis added).         See



Commonwealth v. Jenkins, 416 Mass. 736, 737 (1994) ("If, after due and thorough deliberation,



the jury twice advise the judge that they are unable to reach a verdict, the judge may not properly



send the jury out again without their consent, unless the jury ask for some further explanation of



the law.").   In their note to the Court, the jury specifically stated, "[t]o continue to deliberate



would be futile and only serve to force us to compromise these deeply held beliefs," making it



clear that they would not consent to continuing their deliberations.



        Attorney Yannetti twice argued for the Court to give the Tuey-Rodriguez instructionthe



final step before the Court would declare a mistrial.     See Jenkins, 4 1 6 Mass. at 737; see also Ray



v. Commonwealth, 463 Mass. 1 , 4 (2012) (counsels' request for Tuey-Rodriquez instruction



"permit[ ed] the inference that both parties were provided an opportunity to be heard on possible



alternatives to a mistrial").   Specifically, on Friday, June 28, 2024, after three days of



deliberations, when the jury sent their first note indicating that they had engaged in an



"exhaustive review of the evidence" and "ha[d] been unable to reach a unanimous verdict,"



Attorney Yannetti argued that the jury had engaged in due and thorough deliberations, was at an



impasse, and should be given the Tuey-Rodriguez instruction.        The following Monday, when the



jury sent a second note after deliberating for approximately two hours, stating that "consensus



was unattainable," Attorney Yannetti again argued that due and thorough deliberations had




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occurred and described the jury as "hopelessly deadlocked."        Defense counsel, in arguing twice



that due and thorough deliberations had occurred and pushing for the instruction, presumably



was aware of the legal implications if the jury returned deadlocked again.     Nevertheless, in a



remarkable turnaround, defense counsel now argues that the result they twice advocated for was



"sudden" and "unexpected."       See Defendant Karen Read's Motion to Dismiss at 8.



         Although the Court did not specifically ask defense counsel if they had any objection to



the declaration of a mistrial, counsel had multiple opportunities to voice an objection if they in



fact had one.   While waiting for the jury to enter the courtroom after the Court announced the



jury was again at an impasse on the afternoon of July 1 , 2024, defense counsel could have asked



to be heard on the issue.    During the subsequent discussion about scheduling a status hearing



right after the Court declared a mistrial, counsel had yet another opportunity to inform the Court



of its dissatisfaction.   Lastly, counsel could have communicated to the Court any objection or



request to poll the jurors while the jury was still at the courthouse waiting in the deliberation



room after the declaration of the mistrial.   Instead, defense counsel said nothing to the Court



about the mistrial and then proceeded to the courthouse steps where Attorney Jackson declared to



the media and onlookers that the "[Commonwealth] failed miserably and will continue to fail"



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with its prosecution of the defendant.



          It strains credulity to believe that if defense counsel wanted to voice any objection to the



Court, it would not have been heard.     Significantly, defense counsel were no shrinking violets.



Neither Attorney Jackson nor Attorney Yannetti has ever needed this Court to inquire whether



counsel had an objection in order to be heard, and the Court has never denied counsel the



opportunity to be heard in open court or at sidebar.       The Court reconvened many times at




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    See https://www.youtube.com/watch?v=TrsJPBRVqDg



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counsel's request.     Just days before the declaration of mistrial, defense counsel asked to address



the Court while the jury was deliberating to raise an objection about the verdict slip.     Attorney



Jackson was not shy in informing the Court that he wanted to "make [his] argument" and that the



Court's decision about the verdict slip was "not how it should be and it's over our strong


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objection."       Attorney Jackson went so far as to suggest that "it was almost like the Court is



directing a verdict of the subordinate charges" by not making changes he wanted.         The Court



finds it hard to believe that when counsel heard that the jury was at an impasse for a third time



and a mistrial was inevitable, at perhaps the most crucial point in the trial, counsel would sit



silently if they did not consent to a mistrial.



        As such, the Court does not credit Attorney Jackson's averment that he lacked an



opportunity to be heard.      Defense counsel's silence despite ample opportunity to be heard is



deemed consent.       See Pellegrine, 446 Mass. at 1005 (when trial judge on own initiative declared



mistrial, defendant's silence was deemed consent where there was ample time to object despite



not being directly asked by judge).      Cf. Commonwealth v. Phetsaya, 40 Mass. App. Ct. 293, 298



(1996) (silence was not consent where judge's conduct was "so intimidating to defense counsel.



. . as to foreclose any objection from defense counsel to the declaration of a mistrial).



        Even assuming arguendo that the defendant here did not consent to the mistrial, the law



is clear that a retrial is permissible so long as there was manifest necessity for the mistrial.



Taylor, 486 Mass. at 4 8 3 .   "The trial judge's belief that the jury is unable to reach a verdict has



long been considered the classic basis for a proper mistrial" (quotation and citation omitted).



Ray, 463 Mass. at 3.      See Oregon, 456 U.S. at 672 (describing "hung jury" as "prototypical



example" of manifest necessity).       Because the Court here had no doubt based on the jury's notes




See https://www.youtube.com/watch?v=BjPsNvnLXV0



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to the Court that it was unable to reach a unanimous verdict and the jury represented to the Court



that continued deliberations would be futile, there was manifest necessity for the mistrial based



on the deadlock.



           As stated above, the foreperson, on behalf of the jury in this case, sent the Court three



notes, none of which indicated agreement on any of the charges.                           In the first note, the jury wrote



that they had been "unable to reach a unanimous verdict."                        In the second note, they stated that



they were "deeply divided by fundamental differences in our opinions and state of mind" and



that "consensus is unattainable."              In their third and final note, after they had been given the Tuey­



Rodriguez instruction, the jury stated that they continued to be "at an impasse."                            They described



themselves as "starkly divided" on their "perspectives on the evidence" explaining:



                    "Some      members         of the    jury    firmly    believe   that    the     evidence

                    surpasses    the      burden   of proof establishing           the    elements      of the

                    charges    beyond a reasonable              doubt.    Conversely,       others     find the

                    evidence     fails    to   meet     this   standard    and     does    not   sufficiently

                    establish the necessary elements of the charges.                  The deep division

                    is   not   due   to   lack   of   effort    or    diligence,   but    rather   a    sincere

                    adherence to our individual principles and moral convictions.                           To

                    continue to deliberate would be futile and only serve to force us to

                    compromise these deeply held beliefs."



The only reasonable interpretation of these notes, and specifically the final note, was that the jury



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could not agree on any of the three charges and further deliberations would serve no purpose.



           For the defense to now claim that the notes were susceptible to different interpretations



such that the Court should have inquired further rings hollow, particularly where Attorney



Yannetti had twice argued that the jury had engaged in due and thorough deliberations and could



not agree.      See United States v. Keene, 287 F.3d 2 2 9 , 2 3 4 (1st Cir. 2002) (no abuse of discretion




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    Given the care that went into writing the notes and how articulately they expressed the jurors' disagreement, it

strikes this Court as odd that there was no inkling of an indication of agreement in the content of the notes or that if

the jurors were uncertain whether they could return a partial verdict, they would not have asked the Court.



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in declaring a mistrial given "the increasingly adamant manner in which the jurors announced




that they were deadlocked").       Moreover, defense counsel's conduct immediately after the




declaration of the mistrial in no way suggests that they thought otherwise.




        The defendant contends that the Court failed to carefully consider that as an alternative to




a mistrial, it could have "simply ask[ ed] the jury to specify the charge(s) on which it was




deadlocked."     Defendant Karen Read's Motion to Dismiss at 8.       However, "[t]he question




whether a mistrial is appropriate in the circumstances of a given case is not answered by




application of a 'mechanical formula.""      Ray, 463 Mass. at 4, quoting Illinois v. Somerville, 4 1 0



U.S. 4 5 8 , 4 6 2 (1973).   See Commonwealth v. Bryant, 447 Mass. 494, 503 (2006) (decision




whether to declare a mistrial is within the discretion of the trial judge).   Rather, the Court



considers several facts such as the statements in a jury' s note concerning their inability to reach




an agreement, the time spent in deliberations, and the length and complexity of the trial.        Ray,



463 Mass. at 4-5.     See Renico v. Lett, 55 9 U.S. 766, 775 (2010) ("we have never required a trial



judge, before declaring a mistrial based on jury deadlock, to force the jury to deliberate for a



minimum period of time, to question the jurors individually, to consult with (or obtain the



consent of) either the prosecutor or defense counsel, to issue a supplemental jury instruction, or




to consider any other means of breaking the impasse).




         Where here, the jury had been deliberating five days, had returned to the Court three



times stating they could not agree, had been given the Tuey-Rodrigez instruction and returned




hours later with a note plainly indicating that they could not agree as to the "elements of the




charges" and that "to continue to deliberate would be futile," asking the jury on which charges



they were deadlocked was not necessary to determine that there was manifest necessity for a




mistrial.   See Fuentes v. Commonwealth, 448 Mass. 1 0 1 7 , 1 0 1 8 - 1 0 1 9 (2007) (where final note




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from the foreperson unequivocally stated that the jury were "unable to come to a unanimous



decision," judge was not required to inquire whether there was any reasonable probability of



unanimous verdicts or if the jury would consent to further deliberations); Ray, 463 Mass. at 6 n.5



(judge did not err in declining to poll jury on whether further instructions or deliberation would



be likely to resolve the deadlock).



           Moreover, the defendant's argument ignores the fact that one of the three charges had



lesser included offenses.        Therefore, if upon questioning, the jury had indicated to the Court that



they were not deadlocked on all the charges, the only option would have been for the Court to



send the jury back for further deliberations.           See A Juvenile, 392 Mass. at 56 Gudge should not



inquire as to partial verdicts on lesser included offenses).             Such action would be improperly



coercive under the circumstances.           It has been repeatedly recognized that deadlocked juries are



particularly susceptible to coercion.          Roth, 437 Mass. at 791.       "Where the jurors have twice



reported themselves deadlocked, and have already heard the Tuey-Rodriquez charge, a judge's



inquiry concerning partial verdicts cannot avoid communicating to the jury the judge's desire to



salvage something from the trial."           Id. at 792 (emphasis in original).       Where here the jury had



before it one indictment which included lesser included offenses, had three times reported



themselves deadlocked on separate charges, had already heard the Tuey-Rodriguez charge, and



had sent a final note indicating that continued deliberations would only "serve to force [them] to



compromise [their] deeply held beliefs," sending them to deliberate further would have been



                           9
improperly coercive.




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    It is the Court's view that under these circumstances, even posing the question to the jury of whether they actually

were deadlocked would have implied to the jurors that the Court wanted them to resume deliberations to reach a

verdict.   Given that Attorney Jackson had already expressed concern that the Court was "directing a verdict of the

subordinate charges," the Court was extremely cautious to not give any appearance of partiality.     See United States

v. Hotz, 620 F.2d 5, 7 (1st Cir. 1980) (noting that a court must avoid putting pressure on the jury).



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          The defendant's argument suggests that questioning or polling jurors who report a



deadlock is best practice or at least commonly done by trial judges.                However, the defendant has



not cited any cases saying as much and indeed, such an inquiry is not undertaken in the regular



course."      For a judge to make such an inquiry on her own accord could impede upon the



strategic decision of counsel to not make such a request.             The defendant's argument is based on



hindsight.       No one other than the jury knew that questioning the jurors as to their deadlock would



have yielded a favorable outcome for the defendant.              It is likely for that reason, defense counsel



consented to this Court's declaration of a mistrial.



          III.      Post- Trial Inquiry



          The defendant alternatively requests that the Court allow counsel to conduct a post-trial



inquiry of the jurors to "substantiate the existence of an acquittal."             Defendant Karen Read's



Motion to Dismiss at 9.        Such an inquiry is impermissible.



          The defendant's argument relies solely on Commonwealth v. McCalop, 485 Mass. 790



(2020).    In McCalop, the Supreme Judicial Court held that the trial court should have allowed the



defendant's motion for jurors' names and contact information based on the post-trial statement of



a deliberating juror regarding racist statements made during deliberations.                 Id. at 7 9 1 .   The



Supreme Judicial Court explained, "[t]he presence of even one juror who is not impartial



violated a defendant's right to trial by an impartial jury."           Id. at 798, quoting Commonwealth v.



McCowen, 458 Mass. 4 6 1 , 4 9 4 (2010).         Recognizing that "[r]acial bias in the jury system is 'a



familiar and recurring evil that, if left unaddressed, would risk systemic injury to the




" The defendant relies on Commonwealth v. Foster, 4 1 1 Mass. 762 (1992) and Commonwealth v. LaFontaine, 32

Mass. App. Ct. 529 (1992) to argue that there would be nothing coercive about asking a jury reporting a deadlock

whether they had reached a unanimous verdict on any of the counts.     Because neither the jury in Foster nor the jury

in LaFontaine reported being deadlock in its deliberations, and none of the offenses charged had lesser included

offenses, there was clearly no risk of coercion in the courts seeking partial verdicts on the separate indictments in

those case.   The circumstances here are markedly different.



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administration of justice,"" the McCalop court held that the defendant should have been given a



"fair opportunity to obtain an affidavit from that juror setting forth with some specificity who



among the jurors made statements reflecting racial b i a s . . . and the statements that were made."



McCalop, 485 Mass. at 799, quoting Pena-Rodriguez v. Colorado, 580 U.S. 206, 224 (2017).



The defendant's argument here does not implicate racial bias or her right to receive an impartial



trial.   Thus, the reasoning the Court employed in McCalop does not extend to this case.          See



Commonwealth v. DiBenedetto, 94 Mass. App. Ct. 682, 687 (2019) (declining to extend racial



bias exception to inquiry of jury unanimity because "infection of the criminal justice system with



racial or ethnic bias is a unique type of constitutional deprivation that requires a vigilant response



not warranted in the circumstances presented here").



          The defendant's request effectively seeks permission from the Court to inquire from



deliberating jurors that which is impermissible-information regarding the substance of the



jury's deliberations.   "The secrecy of jury deliberations has served as a bedrock of our judicial



system, and inquiry into the 'jury's deliberative p r o c e s s e s . . . would intrude improperly into the



jury's function" (quotation and citation omitted).        Commonwealth v. Moore, 474 Mass. 5 4 1 , 548



(2016).    It is simply not the case, given the content of the jury's final note to the Court, that any



inquiry to jurors now could be limited solely to the results of the deliberative process and not



implicate the process itself.   Any inquiry would necessarily require the Court to understand why



the jury's final note communicated a deadlock on the charges when post-trial, certain



deliberating jurors are purportedly stating that the jury was, in fact, unanimous on most of the



charges.     While the defendant contends that the conflict is reflective of the fact that the



instructions given to the jury by the Court were confusing, determining whether this is true



would necessarily require inquiry into the back and forth among the jurors during deliberations.




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See DiBenedetto, 94 Mass. App. Ct. at 686 (The judge is precluded from inquiring into the



internal decision making process of the jury as a whole or of the individual juror being



questioned...      Accordingly, evidence that jurors misunderstood the instructions of the presiding



judge...    cannot be considered" [internal quotations and citations omitted]).                  Thus, such an



inquiry is prohibited.



         The defense counsel has not cited one case suggesting the post-trial inquiry they now


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seek is appropriate or that it could change the outcome of the proceedings.                     For the reasons



already discussed, an acquittal of the defendant now on Indictments 1 and 3 based on



conclusions purportedly reached during the jury's deliberations is not possible.                   Therefore, there



is no reason for the Court to allow post-trial inquiry of the jurors.              See A Juvenile, 392 Mass. at



57 (no error in denial of motion to subpoena the foreman where process would only serve to



impeach jury's report to the judge in open court).



                                       CONCLUSION AND ORDER



         This Court recognizes that the bar on retrials following acquittals is "[p]erhaps the most



fundamental rule in the history of double jeopardy jurisprudence."                  Taylor, 486 Mass. at 4 8 1 ,



quoting United States v. Martin Linen Supply Co., 430 U.S. 564, 571 (1977).                      However, where



there was no acquittal on any of the charges in the defendant's first trial, there is no risk of



subjecting the defendant to double jeopardy by retrial on all the charges.



         Therefore, the Defendant's Motion to Dismiss is DENIED.




Date:    August 22, 2024

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  Cases that defense counsel referred to at the hearing on this motion concerning post-trial inquiry of jurors where

juror bias or outside influence was at issue are readily distinguishable from the circumstances here.



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 G.L. c. 234, § 34

 (repealed by St. 2016, c. 36, § 1, eff. May 10, 2016)

 If a jury, after due and thorough deliberation, return
 to court without having agreed on a verdict, the court
 may state anew the evidence or any part thereof,
 explain to them anew the law applicable to the case
 and send them out for further deliberation; but if
 they return a second time without having agreed on a
 verdict, they shall not be sent out again without
 their own consent, unless they ask from the court some
 further explanation of the law.

 G.L. c. 234A, § 68C

 (added by St. 2016, c. 36, § 5, eff. May 10, 2016)

 If a jury, after due and thorough deliberation,
 returns to court without having agreed on a verdict,
 the court may state anew the evidence or any part of
 the evidence, explain to them anew the law applicable
 to the case and send them out for further
 deliberation; but if they return a second time without
 having agreed on a verdict, they shall not be sent out
 again without their own consent, unless they ask from
 the court some further explanation of the law.

 Mass. R. Crim. P. 27(a)

 The verdict shall be unanimous. It shall be a general
 verdict returned by the jury to the judge in open
 court. The jury shall file a verdict slip with the
 clerk upon the return of the verdict.

 Mass. G. Evid. § 606(b)

 During an inquiry into the validity of a verdict, the
 court may ask the jurors individually to affirm
 publicly that the verdict as recorded represents their
 decision. However, a juror may not testify about any
 statement made or incident that occurred during the
 jury’s deliberations, the effect of anything on that
 juror’s or another juror’s vote, or any juror’s mental
 processes concerning a verdict. The court may not
 receive a juror’s affidavit or evidence of a juror’s
 statement on these matters.

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                  Certificate of Compliance


      Pursuant to Mass. R. A. P. 16(k), I certify that
 this brief complies with the rules of this Court that
 pertain to the filing of briefs. This brief comprises
 47 non-excluded pages and uses Courier New, 12 point,
 a monospaced font that produces 10 characters per
 horizontal inch.


                                /s/ Caleb J. Schillinger
                                Caleb J. Schillinger




                    Certificate of Service


      Pursuant to Mass. R. A. P. 13(e), I certify under
 the penalties of perjury that I served copies of this
 brief and the Commonwealth’s supplemental record
 appendix on Attorney Martin Weinberg, counsel for the
 defendant, via email on October 16, 2024.


                                /s/ Caleb J. Schillinger
                                Caleb J. Schillinger




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